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                     Exhibit B
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                                   UNITED STATES DISTRICT COURT
                                       DISTRICT OF COLUMBIA
                UNITED STATES OF AMERICA
                                                  No. 21-cr-399 (RDM)
                        Plaintiff,
                v.

                ROMAN STERLINGOV

                            Defendant.



                                       DECLARATION OF JEFFREY FISCHBACH



            I, Jeffrey M. Fischbach, declare as follows:

           1.      I have been retained by the Defendant, and my qualifications have previously been
                   provided to the Court in this matter;

           2.      I have examined reports produced by Valerie Mazars De Mazarin concerning the

                   examination of an “empty” harddrive from Romania “containing only 0s”. I also reviewed

                   Ms. Mazars De Mazarin’s testimony at trial where she stated that “To get a drive to look

                   like that [have all zeroes], you have to do what's known as zeroing it out, or wiping” and
                   that a “If you take a hard drive new, out of the box, and look at what all the bytes are,

                   sometimes they do have some data, although not actual files, here and there.”

           3.      The import of Ms. Mazars De Mazarin’s testimony was that Mr. Sterlingov must have

                   “zeroed out” or “wiped” the Romanian hard drive.

           4.      To test Ms. Mazars De Mazarin’s conclusion, I ordered brand new Samsung hard drives of
                   various sizes, the same brand located on the Romanian server;

           5.      I used FTK (Forensic Toolkit) Imager/Explorer – software used by the FBI and law

                   enforcement worldwide, capable of exploring the data contained in an unformatted
                   “empty” hard drive;
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           6.      Each brand new, out-of-the-box hard drive analyzed appeared “empty”, containing zeros,

                   as observed by Ms. Mazarin in the blank drive she analyzed. (See Attached.)

            I declare under the pains and penalties of perjury that the foregoing is true and correct to the best
            of my knowledge and understanding.

                     Executed this 14th day of August, 2024.



                                      JEFFREY M. FISCHBACH


                                      By:
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